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          16
                                              UNITED STATES DISTRICT COURT
          17
                                             NORTHERN DISTRICT OF CALIFORNIA
          18
                                                   SAN FRANCISCO DIVISION
          19

          20     IN RE META PIXEL HEALTHCARE                     Case No. 3:22-cv-3580-WHO
                 LITIGATION,
          21                                                     DECLARATION OF LAUREN R.
                                                                 GOLDMAN IN SUPPORT OF PLAINTIFFS’
          22                                                     ADMINISTRATIVE MOTION TO
                                                                 CONSIDER WHETHER ANOTHER
          23     This Document Relates To:                       PARTY’S MATERIAL SHOULD BE
                                                                 SEALED
          24     All Actions
                                                                 Hon. Virginia K. DeMarchi
          25

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Gibson, Dunn &
Crutcher LLP
                               DECLARATION OF LAUREN R. GOLDMAN IN SUPPORT OF MOTION TO SEAL
                                                 CASE NO. 3:22-CV-03580-WHO
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1                I, Lauren R. Goldman, state and declare as follows:
2                1.     I am an attorney licensed to practice in the State of New York. I am a partner at the law
3    firm Gibson, Dunn & Crutcher LLP, counsel of record for Defendant Meta Platforms, Inc. (“Meta”) in
4    these actions. I am admitted pro hac vice to practice before this Court. I am familiar with Meta’s
5    treatment of proprietary and confidential information based on my personal experience representing
6    Meta. 1 I have personal knowledge of the facts stated below and, if called as a witness, I could and
            0F




7    would testify competently thereto.
8                2.     I submit this declaration under Local Rule 79-5(f)(3) in support of Plaintiffs’ two
9    identical Administrative Motions to Consider Whether Another Party’s Material Should Be Sealed.
10   Dkt Nos. 248, 249. Meta seeks to seal portions of Meta’s Responses and Objections to Plaintiffs’ First
11   Set of Requests for Production and Meta’s Responses and Objections to Plaintiffs’ First Set of
12   Interrogatories (collectively, “Meta’s Responses”), which Plaintiffs attached as exhibits to the Joint
13   Discovery Letter Briefs filed on May 17, 2023 at Dkt Nos. 246 and 247. Plaintiffs filed sealed versions
14   of Meta’s Responses at Dkt. Nos. 246-3, 246-4, and 247-2. Meta seeks to seal minor portions of these
15   documents because they reflect confidential business information, including information about Meta’s
16   proprietary filtering methodologies, which, if revealed, would put Meta at a competitive disadvantage
17   in the marketplace and could impede Meta’s integrity efforts. The specific page and line numbers are
18   identified in the table below.
19               3.     In determining whether to permit documents to be filed under seal, courts in the Ninth
20   Circuit apply one of two standards: (1) the “compelling reasons” test for sealing information in
21   connection with motions for a determination on the merits of a claim or defense; and (2) the less-
22   demanding “good cause” test for “sealed materials attached to a discovery motion unrelated to the
23   merits of a case.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016); see
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          Courts in this District routinely grant motions to seal on the basis of declarations of counsel
          submitted pursuant to Local Rule 79-5. See, e.g., Avago Techs. Fiber IP (Singapore) PTE. Ltd., et
26        al. v. IPtronics Inc., et al., No. 10-02863-EJD, Dkts. 544 (N.D. Cal. Apr. 3 2015), 545 (N.D. Cal.
          Apr. 7, 2015); Cisco Sys. Inc., et. al. v. OpenTV Inc., et al., No. 13-00282-EJD, Dkts. 76, 82 (N.D.
27        Cal. Oct. 8, 2013). I am personally familiar with Meta’s practices of safeguarding proprietary
          information, including based on my experience representing Meta for many years, but if the Court
28        deems this declaration insufficient, Meta respectfully requests that it be permitted to file a further
          declaration supporting filing under seal.
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1    Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178–79 (9th Cir. 2006). The good cause
2    standard generally applies to discovery motions because “discovery is largely ‘conducted in private as
3    a matter of modern practice,’” and “the public is not presumed to have a right of access to it.” Ctr. For
4    Auto Safety, 809 F.3d at 1097 (quoting Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33 (1984)). Here,
5    the good cause test applies because the documents at issue are discovery responses attached to Letter
6    Briefs that ask the Court to rule on the scope and timing of discovery. See Dkt Nos. 221, 222, 223;
7    Doe 1 v. McAleenan, No. 18-cv-02349-BLF-VKD, 2019 WL 5259134, at *1 (N.D. Cal. Oct. 8, 2019)
8    (applying good cause test to seal materials filed in connection with motion to compel).
9           4.      The Supreme Court has recognized limits on the public right of access to court records
10   when they could be used “as sources of business information that might harm a litigant’s competitive
11   standing.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978); see also Dkt. 157 at 3 (the
12   Court in this case confirming that “competitive harm is a compelling reason to seal”). And the Court
13   in this case previously sealed similar confidential information under the heightened “compelling
14   reasons” standard because disclosure “could impede Meta’s integrity efforts aimed at detecting and
15   filtering out unwanted and potentially sensitive health information.” Dkt. 157 at 3–4.
16          5.      Meta requests sealing of only a small amount of information in Meta’s Responses that
17   it deems essential to protect from disclosure. Specifically, Meta seeks to seal limited information
18   contained in its Responses to Interrogatories regarding Meta’s internal systems, processes, and
19   corporate structure related to the Meta Pixel, as well as information contained in its Responses to
20   Requests for Production regarding the functionality of the Pixel filter.
21          6.      Meta operates in an intensely competitive marketplace. It is a leader with respect to a
22   number of highly dynamic services. Meta has serious and legitimate concerns that competitors will
23   exploit any release of Meta’s sensitive, proprietary information to gain a competitive advantage. Meta
24   also has an interest in maintaining its integrity systems so bad actors cannot violate Meta’s policies.
25   As such, Meta takes care to protect the confidentiality of its proprietary information.
26          7.      Disclosure of this information would provide competitors the opportunity to use Meta’s
27   information for their own gains. Specifically, competitors could attempt to duplicate features of Meta’s
28   business processes or filtration systems. These attempts would cause competitive harm to Meta

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1    because its processes provide Meta with an advantage over competitors by allowing it to develop and
2    deliver a higher quality service to users and advertisers. In addition, there is a high likelihood that
3    disclosure of details concerning how Meta filters out potentially sensitive user data would cause harm
4    to Meta because third parties would be better able to circumvent Meta’s filters. This could lead to Meta
5    receiving more potentially sensitive user health information, which Meta does not want to receive.
6           8.      Courts routinely protect the type of information that Meta seeks to seal here. See Dkt.
7    157 at 3–4 (collecting cases); Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206,
8    1211 (9th Cir. 2002) (holding “confidential . . . commercial information” was entitled to protection
9    from disclosure”); see also Ojmar US, LLC v. Security People, Inc., 2016 WL 6091543, at *2 (N.D.
10   Cal. Oct. 19, 2016) (noting protections afforded by courts within the Ninth Circuit are broad and extend
11   to “confidential information regarding [a defendant’s] products, services, and business practices”);
12   Opperman v. Path, Inc., 2017 WL 1036652, at *4 (N.D. Cal. Mar. 17, 2017) (sealing documents
13   containing details of a party’s “internal review processes”); Rodman v. Safeway Inc., 2015 WL
14   13673842, at *2 (N.D. Cal. Aug. 4, 2015) (sealing “internal, nonpublic information discussing . . .
15   business decision-making”).
16          9.      Plaintiffs filed these documents provisionally under seal in their entirety, but Meta seeks
17   to redact only minor portions of these documents as set forth in the following table:
18
       Document(s)        Portions of  Designating                         Reason for Redaction
19                      Document to Be   Party
                            Sealed
20
      Responses to      Page 36, Lines      Meta              These documents should be partially sealed
21    Requests for      27–28; Page 37,                       because they include Meta’s non-public business
      Production at     Lines 6, 9, 21–                       information, including confidential information
22    Dkt. Nos. 246-    22, 27                                regarding the functionality of the Pixel filter,
      3, 247-2                                                which if revealed would put Meta’s integrity
23                                                            systems at risk.

24    Responses to      Page 10, Lines      Meta              This document should be partially sealed
      Interrogatories   14–23; Page 11,                       because it includes Meta’s non-public business
25    at Dkt. No.       Lines 1–25;                           information, including confidential information
      246-4             Page 12, Lines                        regarding Meta’s internal systems, processes,
26                      1–12                                  and corporate structure related to the Meta Pixel,
                                                              which if revealed would put Meta at a
27                                                            competitive disadvantage in the marketplace.

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1          I declare under penalty of perjury under the laws of the United States that the foregoing is true
2    and correct. Executed this 24th day of May 2023 in New York, New York.
3                                                                  /s/ Lauren R. Goldman
                                                                   Lauren R. Goldman
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